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                       Exhibit D
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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


   Mahmoud KHALIL,

                  Petitioner,

          v.
                                                             Case No. 25-cv-01963 (MEF-MAH)
   Donald J. TRUMP, in his official capacity as
   President of the United States; William P.
   JOYCE, in his official capacity as Acting
   Field Office Director of New York,
   Immigration and Customs Enforcement;
   Yolanda PITTMAN, in her official capacity                 DECLARATION OF
   as Warden of Elizabeth Contract Detention                 VEENA DUBAL
   Facility; Caleb VITELLO, Acting Director,
   U.S. Immigration and Customs Enforcement;
   Kristi NOEM, in her official capacity as
   Secretary of the United States Department of
   Homeland Security; Marco RUBIO, in his
   official capacity as Secretary of State; and
   Pamela BONDI, in her official capacity as
   Attorney General, U.S. Department of Justice,

                  Respondents.


         I, Veena Dubal, declare:

         1.      I am the general counsel of the American Association of University Professors

  (“AAUP”), a nonprofit membership association and labor union of faculty, graduate students,

  and other academic. The AAUP is a plaintiff in American Association of University Professors v.

  Rubio, No. 25-cv-10685, (D. Mass. filed Mar. 25, 2025), a case challenging the Trump

  administration’s policy of targeting noncitizen faculty and students for arrest, detention, and

  deportation on the basis of their participation in pro-Palestinian protests and related expression

  and association (the “ideological-deportation policy”).




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         2.      Attached hereto as Exhibit A is a true and correct copy of a sworn declaration I

  submitted in the above-referenced case detailing some of the ways that the AAUP and its

  members have been harmed by the Trump administration’s ideological-deportation policy.

         3.      I declare under penalty of perjury that the forgoing is true and correct, and that the

  attached declaration is true and correct.

                                                       Respectfully submitted,


                                                       Veena Dubal
  June 2, 2025




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                             EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


   AMERICAN ASSOCIATION OF
   UNIVERSITY PROFESSORS,

   AMERICAN ASSOCIATION OF
   UNIVERSITY PROFESSORS-HARVARD                  Civil Action No. 1:25-cv-10685
   FACULTY CHAPTER,                               (WGY)
   AMERICAN ASSOCIATION OF
   UNIVERSITY PROFESSORS AT NEW
   YORK UNIVERSITY,

   RUTGERS AMERICAN ASSOCIATION OF
   UNIVERSITY PROFESSORS-AMERICAN
   FEDERATION OF TEACHERS, and

   MIDDLE EAST STUDIES ASSOCIATION,

                 Plaintiffs,

          v.

   MARCO RUBIO, in his official capacity as
   Secretary of State, and the DEPARTMENT
   OF STATE,

   KRISTI NOEM, in her official capacity as
   Secretary of Homeland Security, and the
   DEPARTMENT OF HOMELAND
   SECURITY,

   TODD LYONS, in his official capacity as
   Acting Director of U.S. Immigration and
   Customs Enforcement,

   DONALD J. TRUMP, in his official capacity
   as President of the United States, and

   UNITED STATES OF AMERICA,

                 Defendants.


                               DECLARATION OF VEENA DUBAL
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         I, Veena Dubal, declare and state as follows:

         1.      I am a professor of law at the University of California, Irvine School of Law and

  the general counsel of the American Association of University Professors (“AAUP”). I am over

  the age of eighteen. I have personal knowledge of the facts stated in this declaration, and, if called

  to testify, I could and would competently do so under oath.

                                              Background

         2.      The AAUP is a nonprofit membership association and labor union of faculty,

  graduate students, and other academic professionals. Founded in 1915, the AAUP seeks to promote

  academic freedom and shared governance at the nation’s colleges and universities.

         3.      The AAUP has campus chapters at colleges and universities around the country.

  Among those chapters are the AAUP-Harvard Faculty Chapter (“Harvard-AAUP”), AAUP at New

  York University (“NYU-AAUP”), and Rutgers AAUP-American Federation of Teachers

  (“Rutgers AAUP-AFT”).

         4.      I have served as the AAUP’s general counsel since October 2024. In that role, I

  provide legal advice to the organization and monitor legal developments that are relevant to the

  AAUP and its members. I am also a member of the AAUP.

         5.      In the past few weeks, I have closely followed the Trump administration’s policy

  of arresting, detaining, and deporting students for their pro-Palestinian expression and association

  (the “ideological-deportation policy”). Because of the policy’s effects on the AAUP and its

  members—described in more detail below—I regularly discuss it with my colleagues in the

  AAUP’s national leadership, leaders of AAUP campus chapters, and AAUP members around the

  country.




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                                         Harm to the AAUP

         6.      In my role as the general counsel of the AAUP, I have observed firsthand two

  principal ways in which the ideological-deportation policy has impeded and continues to impede

  the AAUP from carrying out its mission.

         7.      Reducing participation in AAUP events. The ideological-deportation policy has

  deterred noncitizen members from participating in AAUP events. Many noncitizen members have

  stayed away from AAUP gatherings over the last few weeks, particularly those that touch upon

  the Trump administration’s efforts to deport pro-Palestinian students and faculty or to investigate

  universities for their handling of campus protests relating to Israel and Palestine. I have heard

  directly from noncitizen members, who explained that they were interested in attending AAUP

  events addressing these topics but decided not to for fear of being associated with advocacy related

  to the topics and targeted for deportation on that basis. Noncitizen members who have nonetheless

  attended recent AAUP events on these topics have generally refrained from speaking.

         8.      For example, the AAUP recently hosted the first of a series of member gatherings

  to discuss the destruction of schools in Gaza. The purpose of the series was to inform the AAUP’s

  position on and advocacy relating to the allegation that Israel has engaged in “scholasticide.”

  Crucial to that purpose was hearing from a diverse range of the AAUP’s membership, but some

  noncitizen members did not attend out of fear that the government might target them for their

  association with the event, and most of the noncitizen members who did appear kept their voices

  muted. Similarly, the AAUP attempted to organize a virtual event about the threats its noncitizen

  members face of being targeted under the ideological-deportation policy. But I heard directly from

  multiple noncitizen members that they would not attend unless the virtual meeting software could

  anonymize their identities. Because anonymity directly undermined the purpose of the event—




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  which was to hear the experiences of noncitizen members—the AAUP dropped the idea of member

  participation and conversation in this event.

         9.      My colleagues in the AAUP’s national leadership and I have had similar

  experiences with a range of other events, including member discussions about academic freedom

  and Palestine and a recent event at Columbia University focused on the Trump administration’s

  attacks on the university and how the AAUP should respond. For example, I had hoped to have an

  open conversation with the membership about the repression of pro-Palestinian speech on

  campuses, but I heard from many chapter leaders that too many of their citizen and noncitizen

  chapter members would be afraid to attend, leading to a one-sided conversation.

         10.     Reduced participation in AAUP events directly frustrates the AAUP’s mission. The

  AAUP’s over 44,000 members are the lifeblood of the organization. AAUP leadership engages

  with members through a democratic process to develop its positions and priorities and carry out

  its initiatives. Throughout the year, the AAUP hosts in-person and virtual gatherings to discuss

  academic freedom and other pressing topics in higher education. The gatherings often draw

  hundreds of members. My colleagues in the AAUP’s national leadership and I rely on these

  conversations to make virtually every decision of substance about the organization's work. When

  members are afraid to participate in AAUP events, it prevents us from representing their interests

  in the organization’s policymaking, report writing, and public advocacy.

         11.     Diverting resources. The ideological-deportation policy has also forced the AAUP

  to divert resources that it would otherwise devote to its core mission. AAUP leadership has spent

  a significant percentage of its time counseling noncitizen members on the risks of deportation for

  participating in pro-Palestinian protests and connecting noncitizen members with immigration

  attorneys. I, for example, now devote at least 50 percent of the time that I allot to my AAUP




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leadership position to these activities, regularly fielding calls and emails from AAUP members

and chapters related to the policy. These activities are not ones that the AAUP or its leadership

typically engage in, and they leave me and my colleagues in the AAUP’s national leadership with

less time to focus on the organization’s core mission. For example, I have almost no time to discuss

or advise on broader issues of shared governance at the university level or on state legislative

attacks on tenure. Many of our members have lost their federal grant funding, and my attention to

this critical problem and its implications for academic freedom has been limited.

                               Harm to AAUP Campus Chapters

       12.     As the AAUP’s general counsel, I routinely speak with leaders of AAUP campus

chapters, including leaders of Harvard-AAUP, NYU-AAUP, and Rutgers AAUP-AFT. In these

conversations, chapter leaders have relayed three principal ways in which the ideological-

deportation policy has impeded and continues to impede their chapters from carrying out the

AAUP’s mission.

       13.     Diverting resources. Much like the AAUP’s national organization, all three of the

above-mentioned chapters have diverted resources away from their core missions and towards

advising noncitizens who fear that they will be punished under the ideological-deportation policy.

For example, Harvard-AAUP has redirected resources from its work promoting shared governance

and economic justice to respond to the ideological-deportation policy. Because noncitizen

members expressed concern that they could be flagged for deportation based on their social media

activity or other online communications, the chapter expended significant effort organizing

trainings for faculty seeking to avoid government surveillance of their expressive activities online.

NYU-AAUP and Rutgers AAUP-AFT have similarly diverted chapter resources to organize

trainings or prepare training materials related to the ideological-deportation policy. NYU-AAUP,

for instance, is preparing “know your rights” materials related to immigration enforcement on


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NYU’s campus. NYU-AAUP and Rutgers AAUP-AFT are also spending time guiding noncitizen

members through university immigration resources and connecting them with individual legal

support.

          14.   Suppressing membership and participation. The ideological-deportation policy has

also chilled noncitizens from joining and participating fully in all three of the above-mentioned

chapters, preventing these chapters from advocating for the interests of their full constituencies.

This harm is particularly acute for Harvard-AAUP, a relatively new chapter that is attempting to

recruit members and build its presence on campus. Its leaders recently learned that some

noncitizens who would have been eligible to become members have declined to join the

organization out of fear that their membership could put them at risk of deportation. Many Harvard

faculty, staff, and graduate students are noncitizens, so losing their participation deprives Harvard-

AAUP of opportunities to hear from and associate with an important segment of the community it

serves.

          15.   In a similar vein, I have learned that the ideological-deportation policy has caused

noncitizen leaders at AAUP chapters around the country to step back from leadership positions

and public appearances out of fear that they will be falsely labeled as “pro-Hamas” and targeted

for deportation on that basis. As an organization, the AAUP has been heavily involved in advocacy

relating to academic freedom, the suppression of student and faculty discussion of Israel and

Palestine on campus, the Trump administration’s efforts to punish universities for not suppressing

these discussions even more aggressively than they have, and the Trump administration’s recent

efforts to arrest, detain, and deport noncitizen students and faculty who have participated in pro-

Palestinian protests. The leaders at our many chapters around the country participate in this

advocacy, but noncitizen leaders are now terrified of being publicly associated with it because of




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the risk that the Trump administration will identify them and target them for deportation. I have

heard directly from one noncitizen member who has withdrawn from a chapter leadership position,

and several additional members who have refrained from making public statements on behalf of

their chapter. Chapter leaders have also told me that noncitizen members have declined to attend

in-person meetings and events. This has deprived AAUP chapters of experienced leaders and

prevented them from engaging in effective advocacy on their campuses.

       16.     Impeding campus advocacy. The ideological-deportation policy has likewise

prevented some of the above-mentioned chapters from advocating for their interests on campus in

concert with noncitizen faculty and students. For example, members of NYU-AAUP recently

delivered a petition to the NYU administration urging the university to drop disciplinary charges

against students who had engaged in pro-Palestinian activism. NYU-AAUP members felt

compelled to remove the names of all the signatories from the petition due to concerns that

noncitizen signatories, including both faculty and students, could be targeted for deportation based

on their decision to participate. The NYU administration discounted the petition in part because it

lacked the names of the signatories. This undermined NYU-AAUP’s ability to effectively advocate

before the NYU administration, one of the organization’s primary missions.

                                Harm to the AAUP’s Members

       17.     As AAUP’s general counsel, I also routinely speak with individual members of

AAUP chapters around the country, including members of Harvard-AAUP, NYU-AAUP, and

Rutgers AAUP-AFT. In these conversations, members have explained how the ideological-

deportation policy has harmed and continues to harm them. I have also received reports of

additional AAUP members who have been and continue to be harmed by the ideological-

deportation policy.




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                                       U.S. Citizen Members

       18.     I have heard from U.S. citizen members that the ideological-deportation policy

prevents them from hearing their noncitizen students’ and colleagues’ perspectives. Members have

told me about noncitizen colleagues and students who have ceased speaking or writing publicly

about Palestine, withdrawn from academic events, or altered their research or teaching plans out

of fear that their expression will lead to deportation.

       19.     In our conversations, U.S. citizen members have underscored how valuable to their

scholarship, teaching, and public engagement they find the speech that the ideological-deportation

policy suppresses. Some AAUP members I have spoken with study the world outside the United

States and rely on noncitizens’ perspectives to add texture to their academic work. Others

collaborate closely with noncitizen colleagues and students in their teaching or research. U.S.

citizen members have had to cancel events—including talks and conferences—and postpone or

stop their plans to write grants, conduct research, and produce scholarship with noncitizen

members who fear immigration consequences because of the ideological-deportation policy.

       20.     I have also heard from U.S. citizen members that the ideological-deportation policy

prevents them from associating with noncitizen members. U.S. citizen members have conveyed

that their noncitizen colleagues and students have stopped attending protests and other public

gatherings related in any way to Israel and Palestine, including AAUP events, because they fear

that attending these gatherings could mark them for deportation.

       21.     By way of example, I have spoken directly with some of the U.S. citizen members

named in the complaint who have been injured by the ideological-deportation policy. I describe

their circumstances below.

       22.     Joseph Howley. Joseph Howley is an associate professor of Classics and the Paul

Brooke Program Chair for Literature Humanities at Columbia. Howley’s current scholarship and


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teaching focus on the history of the book and Greek and Latin literature, among other topics. He

is a U.S. citizen and a member of the AAUP.

          23.   The ideological-deportation policy has limited Howley’s ability to hear from and

engage with his noncitizen colleagues and students, and it has undermined his teaching. As

program chair of the year-long Literature Humanities course in Columbia’s Core Curriculum,

Howley supervises graduate students who instruct weekly seminars with undergraduate students

to discuss significant literary works from a range of perspectives across time and cultures. In his

regular teaching sessions with instructors, he has observed that many noncitizen instructors have

stopped attending in recent weeks, and that those who do attend are preoccupied with fears of

deportation and unable to focus on the course material. One noncitizen instructor told Howley they

feared deportation based on their attendance merely as a bystander at a protest last year related to

Israel and Palestine. Howley has also heard from noncitizen colleagues that are considering not

teaching topics related to Israel and Palestine or political activism that they might otherwise have

taught.

          24.   The policy has also harmed Howley’s right to assemble with his noncitizen

colleagues and students to engage in public advocacy. Howley joined other faculty and staff

members in de-escalation efforts outside the Columbia solidarity encampment in April 2024.

Following the police sweep of the encampment on April 18, he appeared alongside Mahmoud

Khalil and other speakers at an emergency press conference, to criticize the school president’s

decision to have police arrest students at the encampment. On April 22, Howley joined hundreds

of citizen and noncitizen faculty at Columbia in a walkout protesting that same decision. But when

he spoke at a press conference convened by the AAUP following Khalil’s arrest this month, he

was joined only by citizen members. He understood that noncitizen members who previously




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would have joined him were too afraid to do so now, given the threat of deportation under the

policy. It is now much more difficult for Howley to coordinate de-escalation efforts with

noncitizen colleagues, including one who is now afraid to move freely around the Columbia

campus and surrounding neighborhood.

       25.     Chenjerai Kumanyika. Chenjerai Kumanyika is an assistant professor at NYU’s

Arthur L. Carter Journalism Institute. He specializes in using audio journalism to critically

investigate the way Americans understand issues such as race, the Civil War, and policing. He is

also the Peabody Award–winning host of the Empire City podcast, which focuses on the history

of the New York Police Department. Kumanyika is a U.S. citizen, a member of the AAUP and

NYU-AAUP, and an elected at-large council member of the AAUP.

       26.     The ideological-deportation policy has limited Kumanyika’s ability to hear and

engage with perspectives and scholarship critical to his work. Kumanyika has collaborated in his

research and scholarship with scholars across the university working on interdisciplinary initiatives

that address issues of inequality and justice in the U.S. and transnationally. These scholars include

noncitizens who have concerns about the public visibility of their research and scholarship because

of the ideological-deportation policy. Some of these scholars have removed research and

scholarship from the internet because they fear this research and scholarship could expose them to

deportation.

       27.     Vasuki Nesiah. Vasuki Nesiah is a professor of practice at NYU’s Gallatin School

of Individualized Study, and faculty director of the Gallatin Global Fellowship in Human Rights.

Nesiah’s scholarship and teaching focus on human rights and international law. She is a U.S.

citizen and a member of the AAUP and NYU-AAUP.




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       28.     The ideological-deportation policy has limited Nesiah’s ability to hear from and

engage with her noncitizen colleagues and students, and it has undermined her teaching. Prior to

the policy’s adoption, Nesiah frequently talked with noncitizen colleagues about Israel and

Palestine and academic freedom to discuss these and other sensitive issues. Since the policy’s

implementation, Nesiah’s noncitizen colleagues have become increasingly unwilling to discuss

these topics in public or private. In a recent academic panel that Nesiah participated in, for

example, the panel was simply advertised as a conversation without the names of the panelists or

their institutional affiliations because another panelist feared retaliation under the policy. These

measures reduced attendance and hindered the dialogue and sharing of research that is critical to

Nesiah’s academic work. Similarly, many of her noncitizen colleagues who live outside of the

United States are now unwilling to attend academic events inside the country for fear that they will

be detained and deported. For instance, several colleagues who typically attend the Law and

Society Association Annual Meeting (to be held in Chicago in May 2025) have informed her that

they will not attend for this reason. Because her field of international law is particularly engaged

with the work of scholars who live abroad, these withdrawals hamper Nesiah’s research. The

policy has also chilled student discussion on campus, with many noncitizen students now avoiding

the topic of Israel and Palestine out of fear that they will be targeted for deportation if they discuss

it. Some noncitizen students have also expressed concern about even showing up to class, and

there have been conversations among her colleagues about conducting classes over Zoom, which

Nesiah considers to be a poor substitute for in-person teaching.

        29.     The policy has also limited Nesiah’s ability to associate with noncitizen colleagues.

For example, a noncitizen colleague who had signed an open letter related to academic freedom

that Nesiah and her colleagues had recently organized asked that their name be removed from the




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letter, because they feared that signing the letter would make them a target for deportation under

the policy.

       30.     Sonya Posmentier. Sonya Posmentier is an associate professor of English at NYU

and the director of graduate studies in the NYU English department. Her research and teaching

interests include African American and Black Diasporic literature and culture, poetry and poetics,

and abolition. She is a U.S. citizen, a member of the AAUP and NYU-AAUP, and a member of

NYU-AAUP’s executive committee.

       31.     The ideological-deportation policy has limited Posmentier’s ability to hear and

engage with perspectives and scholarship critical to her work. For example, Posmentier had

planned to attend a conference concerning Israel and Palestine to hear a noncitizen scholar deliver

a talk in their area of expertise, but that individual was forced to pull out of the conference due to

a fear of deportation under the policy. As a result, Posmentier missed an opportunity to engage

with and learn from that scholar, distorting Posmentier’s academic community, which depends on

the exchange of ideas and information between scholars. In addition, the NYU chapter of a pro-

Palestinian faculty group recently removed all videos of teach-ins and public-facing events since

October 2023 out of a fear that leaving the videos up would expose noncitizen colleagues featured

in the videos to deportation. These videos focus on a range of topics, including definitions of

antisemitism, the global university, and scholasticide. The removal of these videos prevents

Posmentier and many others from listening to and learning from those conversations, as well as

using them as a resource in research and teaching.

       32.     The policy has limited Posmentier’s ability to associate with her noncitizen

colleagues and students. Posmentier has been working with her students on a collaborative

publication about abolition movements that addresses, among other topics, the criminalization of




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pro-Palestinian protest on university campuses. The group had planned to publish and distribute

the publication and hold a launch event including readings and performance. In consultation with

her students, however, Posmentier has decided not to move forward with this plan because of

student fears that it could lead to noncitizen contributors to being targeted for deportation. This

deprives the entire department of the contributors’ many valuable insights.

       33.      In addition to the U.S. citizen members I’ve spoken with directly, I have received

reports about several other U.S. citizen AAUP members who have been injured by the ideological-

deportation policy. I describe their circumstances below.

       34.      Patricia Dailey. Patricia Dailey is an associate professor of English and

Comparative Literature at Columbia University. She specializes in medieval literature and critical

theory. Dailey is a U.S. citizen and a member of the AAUP.

       35.      The ideological-deportation policy has harmed Dailey’s ability to hear perspectives

she values as a member of her university community, and to associate with other members of the

AAUP. Dailey was a member of an independent and long-running online community made up of

Columbia faculty and staff, including other AAUP members. Dailey relied on the community to

engage with other members of the Columbia community, including AAUP members, and to stay

informed about university-related topics as well as political issues, including issues related to Israel

and Palestine. Fearing that the community’s content about Israel and Palestine would jeopardize

the immigration status of its noncitizen members, however, the organizer of the online community,

who is a noncitizen, recently decided to delete it. As a result, Dailey has lost access to views and

information she found valuable, and she is no longer able to engage with other AAUP members as

she once did.




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       36.     Maya Jasanoff. Maya Jasanoff is a professor of History at Harvard. Jasanoff’s

scholarship and teaching focus on the history of the British empire. She is a U.S. citizen and a

member of Harvard-AAUP and the AAUP.

       37.     The ideological-deportation policy has harmed Jasanoff’s ability to hear from her

noncitizen colleagues and students. She has recently observed that noncitizen colleagues and

students are reluctant to speak publicly about politics and world affairs out of concern that they

will be targeted for ideological deportation. The silencing of noncitizen colleagues and students

directly impacts Jasanoff’s work. Because she studies the British empire, which covered nearly a

quarter of the globe at its peak, she relies on the perspectives of students and colleagues from

around the world to inform her scholarship and teaching.

       38.     Lauren Kaminsky. Lauren Kaminsky is an associate senior lecturer and the director

of studies for the Committee on Degrees in History and Literature at Harvard. Kaminsky’s

scholarship and teaching focus on European history. She is a U.S. citizen and a member of

Harvard-AAUP and the AAUP.

       39.     The ideological-deportation policy has harmed Kaminsky’s ability to hear from, as

well as associate and assemble with, her noncitizen colleagues and students. She has observed that

noncitizen colleagues—even those who previously felt secure in their immigration status—have

recently refrained from teaching classes or speaking publicly on increasingly politicized topics,

including Palestine, and noncitizen colleagues and students have recently refrained from writing

on these topics. Kaminsky is also aware of several noncitizens who have declined to join Harvard-

AAUP in recent weeks out of fear that their membership could put them at risk. She has observed

that noncitizen colleagues have been less willing to attend political gatherings in recent weeks.




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       40.       Rebecca Karl. Rebecca Karl is a professor of History at NYU. Karl’s research and

teaching focus on modern Chinese history, as well as the history of social theory, feminism, Mao

Zedong Thought and Marxism, and global revolution. Karl is a U.S. citizen, a member of the

AAUP, and a former president and now member-at-large of NYU-AAUP.

       41.       The ideological-deportation policy has limited Karl’s ability to hear and engage

with perspectives and scholarship she values. As a student of and researcher on histories of

repressive regimes, Karl is interested in the multiple ways in which marginalized people

understand their lives and worlds. As a Jewish person, she is particularly interested in the history

of antisemitism and Zionism and has helped organize educational events at NYU on those topics.

In doing so, she has sought out and engaged with the views of citizen and noncitizen colleagues.

Following the adoption of the policy, however, some noncitizen colleagues have felt compelled to

take down research and scholarly work that was previously available online, and have ceased

speaking publicly about issues related to Israel and Palestine; others have declined public speaking

opportunities.

       42.       The policy has undermined Karl’s ability to assemble with noncitizen faculty and

students to engage in public advocacy. Over the last year and a half, Karl has regularly engaged in

pro-Palestinian protests and public advocacy at NYU. Since the implementation of the policy,

however, Karl has noticed a significant decrease in the participation of noncitizen faculty and

students in pro-Palestinian expression, including petition-signing and public letter signing.

       43.       David Kurnick. David Kurnick is a professor of English at Rutgers University. His

research and teaching interests include the history and theory of the novel, narrative theory, and

sexuality and gender, with an emphasis on the nineteenth century. He is a U.S. citizen and a

member of the AAUP and Rutgers AAUP-AFT.




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          44.   The ideological-deportation policy has limited Kurnick’s ability to associate with

his noncitizen colleagues and students. Several graduate and undergraduate students that Kurnick

associates with have informed him that they have decided to refrain from signing anything related

to Israel and Palestine, and to refrain from participating in any pro-Palestinian marches or

demonstrations, out of fear of being targeted for deportation. Kurnick has also abstained from any

public discussion of matters relating to Israel and Palestine with his noncitizen students. Instead,

he has limited his communications with noncitizen students to in-person conversations. Kurnick

is also responsible for the English Department’s graduate admissions process this year, and some

admitted students outside the U.S. have expressed hesitation about coming to study inside the

United States because of concerns that the ideological-deportation policy would force them to self-

censor.

          45.   Judith Surkis. Judith Surkis is a professor of History at Rutgers University and

Director of Graduate Studies in the History Department. She specializes in Modern European

History, with an emphasis on France and the French Empire, gender and sexuality, and intellectual,

cultural, and legal history. She is a U.S. citizen and a member of the AAUP and Rutgers AAUP-

AFT.

          46.   The ideological-deportation policy has limited Surkis’s ability to associate with her

noncitizen colleagues and students. As a member of Rutgers Faculty for Justice in Palestine, she

has witnessed a radical decline in public engagement by noncitizen students and faculty on the

question of Palestine since the announcement of the ideological-deportation policy. She has also

noticed that noncitizen faculty are more hesitant to speak about or even attend events that address

Palestine. The inability of noncitizen students and faculty to freely participate in these events

deprives Surkis of their experiences and insights.




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       47.     The policy has also forced Surkis to modify how she advises noncitizen graduate

students in her department. Surkis previously encouraged students to travel abroad to conduct the

necessary field research to write their seminar papers, devise their dissertation topics, and

ultimately write their dissertations. Now, she is reluctant to recommend that they travel for their

studies, because she fears some of these students may be denied re-entry, detained, and even

stripped of their visas on return.

       48.     Kirsten Weld. Kirsten Weld is a professor of History at Harvard. Weld’s research

focuses on modern Latin America and explores struggles over inequality, justice, historical

memory, and social inclusion. She is a U.S. citizen and a member of the AAUP and Harvard-

AAUP. She also serves as Harvard-AAUP’s president.

       49.     Weld has observed that following the administration’s adoption of the ideological-

deportation policy, many noncitizen students, staff, and faculty colleagues, particularly those who

had been involved in pro-Palestinian organizing, have retreated from ordinary university life.

Rather than engaging with the university community and participating in educational and

developmental activities, noncitizen students, staff, and faculty have devoted significant attention

and resources to preparing for potential immigration consequences that may result from their past

expressive activities. Additionally, some noncitizen students who had previously spoken or written

publicly about Israel and Palestine have now ceased participating publicly on those issues out of

fear that doing so will lead to deportation. Weld valued hearing from noncitizen students on these

topics, and is now deprived of receiving the speech of those who have been chilled by the policy.

                                       Noncitizen Members

       50.      These accounts conform with those I have heard directly from the AAUP’s

noncitizen members. Many noncitizen members I have spoken to are deeply fearful that they will

be targeted for arrest, detention, and deportation based on their expression and association relating


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to Israel and Palestine. I have heard directly from noncitizen members who have withdrawn from

academic conferences and pulled scholarly articles relating to Israel and Palestine because of these

fears. I have also heard from one noncitizen member who has left the United States and plans to

fulfill their academic responsibilities remotely for the rest of the semester. Some noncitizen

members expressed concern to me that being named or even described in this lawsuit could put

them at risk of retaliation under the policy.

       51.     By way of example, I have spoken directly with noncitizen members—referred to

in the complaint as AAUP Member C and D—who have been injured by the ideological-

deportation policy. I describe their circumstances below.

       52.     AAUP Member C. AAUP Member C is a legal permanent resident, a member of

the AAUP, and a professor at a university in the Northeast.

       53.     Before the administration adopted the ideological-deportation policy, AAUP

Member C regularly published their writing and participated in public advocacy on issues related

to academic freedom. Now, due to fears that they will be targeted for deportation based on that

writing and advocacy, AAUP Member C has felt compelled to remove previously published

writing and scholarship from the internet, and to turn down opportunities to speak at academic

talks and other public-facing events that they would otherwise have accepted.

       54.     The individual has also been chilled from associating with colleagues at their local

AAUP chapter. AAUP Member C values the ability to engage in collective action with other

chapter members, but because they fear that public association with the chapter could expose them

to deportation, they have forgone leadership opportunities within the chapter, reduced their

participation in the chapter’s public-facing work, and declined to participate in political organizing

with the chapter.




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        55.    AAUP Member C has also been chilled from engaging in peaceful political protest

and assembly. Although they would like to gather with others to engage in pro-Palestinian

advocacy, they no longer do so out of fear of arrest and deportation for lawful political speech.

        56.    AAUP Member D. AAUP Member D is a legal permanent resident, a member of

the AAUP, and a professor at a university in the Northeast.

        57.    AAUP Member D recently withdrew from presenting on a topic related to Israel

and Palestine at an academic conference out of concern that this could expose them to deportation

under the policy. Also due to the concern about the policy, they have stopped traveling abroad for

academic conferences.

        58.    The individual has also been chilled from associating with colleagues at their local

AAUP chapter and colleagues nationally. AAUP Member D no longer signs their name to open

letters that their colleagues circulate—including open letters related to Israel and Palestine—for

fear of being targeted for deportation. For the same reason, they have also ruled out pursuing a

leadership position at their local AAUP chapter.

        59.    The individual has also been chilled from engaging in peaceful political protest and

assembly. AAUP Member D wishes to gather with others to engage in pro-Palestinian speech and

advocacy, but now fears that they will be deported for doing so. They do not plan to attend future

protests, but, if they do attend, they intend to wear a mask and other clothing to obscure their

identity.

        60.    In addition to the noncitizen members I’ve spoken with directly, I have received

reports about several other noncitizen AAUP members—referred to in the complaint as AAUP

Member A, B, and E—who have been injured by the ideological-deportation policy. I describe

their circumstances below.




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       61.     AAUP Member A. AAUP Member A is a legal permanent resident, a member of

the AAUP, and a lecturer at a university in the Northeast whose research interests include race and

migration.

       62.     Before the administration adopted the ideological-deportation policy, AAUP

Member A regularly posted on social media and engaged in other public advocacy on issues related

to Israel and Palestine. Because of the policy, however, and the fear that they will be targeted for

deportation based on their writing and advocacy, AAUP Member A has taken down previously

published social media posts about Israel and Palestine and stopped assigning materials about

Palestine in the courses they teach.

       63.     They have also been chilled from engaging in peaceful political protest and

assembly. AAUP Member A previously participated in pro-Palestinian protests and public

demonstrations regularly and still wishes to gather with others to engage in pro-Palestinian speech

and advocacy. They no longer participate in these activities because of the fear that they will be

arrested and deported for doing so.

       64.     AAUP Member B. AAUP Member B is a legal permanent resident, a member of the

AAUP, and a professor at a university in the Northeast.

       65.     Although AAUP Member B’s academic work has obvious relevance to issues

relating to Israel and Palestine, they have decided to forgo opportunities to write about these issues

due to concerns that they may face immigration consequences stemming from the policy. They

also decided against teaching a class they have offered in the past because the class syllabus would

necessarily have included materials related to Palestine. AAUP Member B made this decision out

of concern that including that material would put them at risk of deportation under the policy.




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        66.    AAUP Member B has also been chilled from associating with AAUP colleagues.

AAUP Member B has worked for over a year with university faculty across the United States,

including other AAUP members, on a national organization addressing the concerns of Jewish

faculty, including on issues related to Israel and Palestine. Due to the ideological-deportation

policy, AAUP Member B no longer feels comfortable having their name associated with the

prospective organization or doing any public-facing work for the prospective organization.

        67.    AAUP Member B has also been chilled from engaging in peaceful political protest

and assembly. They previously participated in pro-ceasefire protests and other public

demonstrations but no longer do so because of the fear that their lawful advocacy will lead to arrest

and deportation.

        68.    AAUP member E. AAUP Member E is a legal permanent resident, a member of the

AAUP, and a professor in at a university in the Northeast. As a noncitizen, AAUP Member E was

already hesitant to speak about political issues on social media. The ideological-deportation policy

has made them reluctant to participate in protests and to engage in expressive or associational

activities that require them to disclose their name. As a result of the policy, AAUP Member E no

longer feels that they can safely exercise their free speech rights in the United States and will be

spending most of the Spring semester outside of the country. Although they are able to conduct

research abroad, an extended stay would substantially disrupt their professional activities and daily

life.

        I declare under penalty of perjury that the foregoing is true and correct.



 Executed on: April 1, 2025
                                             Veena Dubal




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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 Mahmoud KHALIL,

                Petitioner,

         v.
                                                            Case No. 25-cv-01963 (MEF-MAH)
 Donald J. TRUMP, in his official capacity as
 President of the United States; William P.
 JOYCE, in his official capacity as Acting
 Field Office Director of New York,
 Immigration and Customs Enforcement;
 Yolanda PITTMAN, in her official capacity                  DECLARATION OF
 as Warden of Elizabeth Contract Detention                  ASLI Ü BÂLI
 Facility; Caleb VITELLO, Acting Director,
 U.S. Immigration and Customs Enforcement;
 Kristi NOEM, in her official capacity as
 Secretary of the United States Department of
 Homeland Security; Marco RUBIO, in his
 official capacity as Secretary of State; and
 Pamela BONDI, in her official capacity as
 Attorney General, U.S. Department of Justice,

                Respondents.


       I, Aslı Ü Bâli, declare:

       1.      I am the current President of the Middle East Studies Association of North America

(“MESA”), a 501(c)(3) nonprofit membership association of faculty, students, and researchers

interested in the study of the Middle East. MESA is a plaintiff in American Association of

University Professors v. Rubio, No. 25-cv-10685, (D. Mass. filed Mar. 25, 2025), a case

challenging the Trump administration’s policy of targeting noncitizen faculty and students for

arrest, detention, and deportation on the basis of their participation in pro-Palestinian protests and

related expression and association (the “ideological-deportation policy”).




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       2.      Attached hereto as Exhibit A is a true and correct copy of a sworn declaration I

submitted in the above-referenced case detailing some of the ways that MESA and its members

have been harmed by the Trump administration’s ideological-deportation policy.

       3.      I declare under penalty of perjury that the forgoing is true and correct, and that the

attached declaration is true and correct.



                                                      Respectfully submitted,




                                                      Aslı Ü Bâli
May 30, 2025




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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS,

AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS-HARVARD                   Civil Action No. 1:25-cv-10685
FACULTY CHAPTER,

AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS AT NEW
YORK UNIVERSITY,

RUTGERS AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS-AMERICAN
FEDERATION OF TEACHERS, and

MIDDLE EAST STUDIES ASSOCIATION,

              Plaintiffs,

       v.

MARCO RUBIO, in his official capacity as
Secretary of State, and the DEPARTMENT
OF STATE,

KRISTI NOEM, in her official capacity as
Secretary of Homeland Security, and the
DEPARTMENT OF HOMELAND
SECURITY,

TODD LYONS, in his official capacity as
Acting Director of U.S. Immigration and
Customs Enforcement,

DONALD J. TRUMP, in his official capacity
as President of the United States, and

UNITED STATES OF AMERICA,

              Defendants.




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                              DECLARATION OF ASLI Ü. BÂLİ

       I, Aslı Ü Bâli, declare:

       1.      I am the current President of the Middle East Studies Association of North America

(“MESA”), a plaintiff in the above-captioned case. I have held that position since November 6,

2023. In my capacity as President, I regularly communicate with and respond to the interests and

concerns of MESA members. I have spoken to and heard reports from many MESA members who

have been directly and seriously harmed by the Trump administration’s policy of targeting

noncitizen faculty and students for arrest, detention, and deportation on the basis of their

participation in pro-Palestinian protests and related expression and association (the “ideological-

deportation policy”).

       2.      I am a U.S. citizen, and am myself a member of MESA. I am also a member of the

American Association of University Professors, another plaintiff in this case.

       3.      In addition to my role within MESA, I am the Howard M. Holtzmann Professor of

Law at Yale Law School. My research and teaching interests include public international law,

particularly human rights law and the law of the international security order, and comparative

constitutional law, with a focus on the Middle East. As a scholar, I have written on the nuclear

non-proliferation regime, humanitarian intervention, the roles of race and empire in the

interpretation and enforcement of international law, the role of judicial independence in

constitutional transitions, federalism and decentralization in the Middle East, and constitutional

design in religiously divided societies.

       4.      My declaration is based on my experience leading MESA, one of the premier

academic and advocacy-oriented organizations that focuses on the study of the Middle East; my

conversations with and reports I have received about members of MESA; and my own experience

as a scholar who engages in research and teaching about the Middle East. I have personal


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knowledge of the facts stated in this declaration, and, if called to testify, I could competently do

so under oath.

                                              MESA

       5.        MESA is a 501(c)(3) nonprofit membership association of faculty, students, and

researchers interested in the study of the Middle East (including Southwest Asia, the Arab world,

and North Africa). Founded in 1966, MESA’s mission is to foster the study of the Middle East,

promote high standards of scholarship and teaching, and encourage public understanding of the

region and its peoples.

       6.        MESA accomplishes these goals by organizing programs, publications, and

services that enhance education, further intellectual exchange, recognize professional distinction,

and defend academic freedom. For instance, MESA hosts for its members an annual meeting,

which is the premiere conference for scholars who research the Middle East. MESA also publishes

the International Journal of Middle East Studies, the leading peer-reviewed scholarly journal on

the region, and the MESA Review of Middle East Studies. In addition to its academic programming,

MESA advocates on behalf of its members through its Committee on Academic Freedom and its

Task Force on Civil and Human Rights, which work on issues that are central to MESA’s mission

of promoting high standards of scholarship and teaching, defending academic freedom, and

supporting civil and human rights.

       7.        MESA has over 2,000 individual members, including faculty and students at

universities across the country who work in the field of Middle East studies, as well as more than

50 institutional members and 36 affiliated institutions. MESA’s membership is made up of U.S.

citizens as well as many noncitizens, and includes members who live outside of the U.S. or who




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frequently travel abroad as part of their academic work—all of whom contribute invaluably to the

scholarly community MESA seeks to foster.

              The Effect of the Ideological-Deportation Policy on MESA’s Members

       8.        I and other members of MESA have been directly and seriously harmed by the

Trump administration’s ideological-deportation policy. The policy, along with the Trump

administration’s attendant threats, has created a climate of fear and repression that has caused

significant and lasting damage to the community of scholars—both U.S. citizens and noncitizens

alike—that MESA represents.

       9.        Since the ideological-deportation policy began, I have heard from many MESA

members who feel the need to self-censor out of fear that their speech and expression could put

them at risk of arrest, detention, or deportation. For instance, I know that some noncitizen MESA

members have deleted their social media profiles or decided to take down posts that could be

interpreted as advocating for pro-Palestinian positions. Some have removed public indicia of their

involvement with pro-Palestinian groups on campus. Noncitizen MESA members have told me

that they are afraid to organize even ordinary academic programming and events that touch on the

issue of Palestine. Similarly, I have spoken to noncitizen members who are concerned that simply

teaching about Israel and Palestine in class might put them at risk for arrest, detention, or

deportation. As a result of the policy, many noncitizen members of MESA are now terrified of

engaging in critical aspects of their research, teaching, and public advocacy, especially when those

activities touch on Israel or Palestine.

        10.      For example, I have spoken with two noncitizen MESA members—whom the

complaint refers to as MESA Member A and MESA Member B—who have drastically limited




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their scholarly and public engagement because of the ideological-deportation policy. I describe

their circumstances below.

       11.       MESA Member A. MESA Member A is a legal permanent resident, a member of

MESA, and a professor at a university in the southern United States whose research interests

include topics related to Israel and Palestine.

       12.       Before the administration adopted the ideological-deportation policy, MESA

Member A regularly posted on social media about Israel and Palestine, including on topics related

to their area of academic expertise, and engaged in other public advocacy on issues related to Israel

and Palestine. Other MESA members followed MESA Member A on social media and frequently

engaged with their posts. Because of the policy, however, and the fear that they will be targeted

for deportation based on their writing and advocacy, MESA Member A has significantly reduced

their engagement on social media, and feels compelled to self-censor when posting about Israel

and Palestine.

       13.       The policy has also interfered with MESA Member A’s academic research and

writing. Out of concern that their current immigration status could be revoked at any moment based

on their past expressive activity, MESA Member A now refrains from traveling internationally.

This has prevented them from engaging in key aspects of their research, including conducting

interviews with people abroad and accessing research materials that are available only abroad. It

has disrupted MESA Member A’s ability to conduct research for a new book project that relies on

those methods. MESA Member A also had to cancel plans to travel to academic conferences in

Europe that they otherwise would have attended, preventing them from associating with their

colleagues, including other MESA members.




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       14.     They have also been chilled from engaging in peaceful political protest and

assembly. MESA Member A previously participated in pro-Palestinian protests and public

demonstrations regularly and still wishes to gather with others to engage in pro-Palestinian speech

and advocacy. They no longer participate in these activities because of fear that they will be

arrested and deported for doing so.

       15.     MESA Member B. MESA Member B is a legal permanent resident, a member of

MESA and the AAUP, and a professor at a university in the Northeast whose research interests

include gender studies and Middle East studies.

       16.     Before the administration adopted the ideological-deportation policy, MESA

Member B regularly organized workshops, teach-ins, and meetings related to Palestine and shared

information about Palestine-related events on social media. Now, due to fears that these activities

could lead to deportation, they have declined opportunities to chair academic committees,

refrained from publishing work related to Palestine, stopped going to protests or demonstrations,

and taken down all their social media posts about events related to Palestine.

       17.     MESA Member B has also forgone research grants and opportunities that would

have required them to travel to the Middle East, due to the risk of being denied reentry based on

their pro-Palestinian expression and association. This has harmed their ability to pursue their

scholarship, which requires traveling abroad to interview people and attend cultural events that are

the subject of their research.

       18.     The experiences of MESA Member A and B are just two examples. I have heard

from and know of many more noncitizen MESA members who have sharply limited their speech

and expression on issues relating to Israel and Palestine, out of fear that they may be targeted for

arrest, detention, or deportation based on those activities. Indeed, some noncitizen members




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expressed concern that even being named or described in connection with this lawsuit could put

them at risk under the ideological-deportation policy. Others informed me that they were deeply

concerned about having their specific experiences described at all in the lawsuit, even

anonymously.

       19.     The climate of fear and repression created by the ideological-deportation policy has

not only harmed noncitizen MESA members, it has also had a direct and significant impact on

MESA members who are U.S. citizens by preventing them from engaging with and hearing from

their noncitizen colleagues and students.

       20.     I rely greatly on the insights of my noncitizen colleagues in MESA. As President

of MESA, it is important for me to understand the breadth of interests represented in the

organization to ensure that I am able to address the most pressing priorities for MESA’s

membership. Being able to freely communicate with noncitizen members of MESA about their

views and opinions is vital to achieving that goal. Because of the ideological-deportation policy,

however, many noncitizen members of MESA are concerned about communicating with me about

topics relating to Israel and Palestine, especially in writing or over email, even though those topics

are salient to their scholarship or to MESA’s work defending the academic freedom of its members.

Many noncitizen members have also retreated from public engagement on issues relating to Israel

and Palestine, which is a crucial area of Middle East study, making it harder for me to stay on top

of scholarly and other developments in the field that are important to my role as President of

MESA.

       21.     The policy has also seriously undermined my academic work. I am a legal scholar

whose research and teaching focuses on the Middle East. My work has often placed special

attention on Palestine. For instance, I have written about and discussed publicly the United




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Nations’ unique role in the Israeli-Palestinian conflict and the application of international law to

Israel and Palestine. I have organized conferences and events on human rights in Israel and

Palestine and engaged with colleagues and students about their views on the topic. Because many

noncitizen MESA members have restricted their expressive and academic activities out of fear that

they may be targeted for arrest, detention, or deportation, I have lost the benefit of many of my

colleagues’ research and expert views on the issues I am interested in studying, particularly where

they relate to Israel and Palestine. Because I understand that my noncitizen colleagues now fear

deportation based on their scholarly work, I hesitate to approach them to collaborate on public

projects that might put them at risk. For instance, I am reluctant to coauthor blog posts, essays, or

articles with noncitizen graduate students or untenured colleagues that touch on issues related to

Israel and Palestine for fear of putting these potential coauthors at risk of ideological deportation.

These are partnerships I would have enthusiastically pursued prior to the ideological-deportation

policy.

          22.   Additionally, I have become increasingly concerned about the participation of some

of my noncitizen colleagues in a conference scheduled to take place in April at Yale Law School.

Although I and others have spent over a year organizing this conference and expected the event to

take place in-person, I recently proposed moving the conference entirely or partially online due to

concerns that noncitizens would not participate in light of the ideological-deportation policy. Some

participants have decided to limit their participation by joining virtually rather than risk potential

deportation if they traveled to attend in person. This change has already diminished the value I and

the other organizers hoped to gain from the conference. Should more participants decide to join

exclusively online it would be devastating to the conference, which was intended to bring the

participants together in the same space to network and exchange ideas in-person.




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       23.     I also know of, or have heard from colleagues about, noncitizen students who have

been significantly harmed by the ideological-deportation policy. Noncitizen students have

removed posts from their social media, taken down previously published writing, and removed

references to published writing from their own profiles, particularly if the content of the posts or

writings touch on Palestine. This is especially damaging for any students who wish to become

academics, as it prevents them from developing a public profile of scholarly work in the field.

Noncitizen students have also withdrawn from student organizations on campus in order to

distance themselves from events relating to Israel and Palestine, because of the fear that being

associated with the events could have consequences for their immigration status. The chill that the

ideological-deportation policy has produced on student speech directly and adversely affects my

own work because my research agenda is ordinarily informed and enriched by ideas and novel

issue areas that I develop or learn about in conversation with my students.

       24.     My experiences are not unique. I have spoken with at least four of my MESA

colleagues, whom I describe in more detail below. These members, and many more, have been

seriously harmed by the ideological-deportation policy and the broad chilling effect it has had on

the expressive and associational activities of noncitizen faculty and students who do work or

advocacy related to the Middle East.

       25.     Beth Baron. Beth Baron is a distinguished professor of History at the City

University of New York. Baron’s scholarship focuses on the history of medicine in Egypt. She is

a U.S. citizen and a member of MESA.

       26.     The ideological-deportation policy has harmed Baron’s ability to receive

information from her noncitizen students. Several of Baron’s noncitizen students, some of whom

are members of MESA, are now afraid to travel abroad to visit archives and libraries that have




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historical sources critical to their research because they fear they will not be allowed back into the

country. This fear of travel due to the policy significantly limits the set of topics Baron’s students

can research or write about, which diminishes her own, and her department’s, ability to benefit

from these students’ work. Baron has also heard from noncitizen students who have removed

content from their social media accounts, taken down images and content from websites, and who

are self-censoring in their teaching, especially on topics related to Israel and Palestine and U.S.

foreign policy. These students have taken these actions out of a fear that their speech could lead to

them being targeted for deportation. Baron has been deprived of these students’ insights and

experiences, which she otherwise would have valued engaging with.

       27.     The policy has also limited Baron’s ability to associate and assemble with

noncitizen colleagues and students. Baron recently attended an academic event related to Palestine

that was accessible only in-person because the organizers decided not to allow people to access

the event remotely, out of fear that doing so would expose noncitizen participants to deportation.

Prior to the policy, Baron attended anti-war demonstrations with noncitizen students and

colleagues. Now, many of those individuals have stopped attending protests because they are afraid

of being deported.

       28.     Nadia Abu El-Haj. Nadia Abu El-Haj is a professor of anthropology at Barnard

College, Columbia University and the Co-Director of the Center for Palestine Studies (“CPS”) at

Columbia University. Abu El-Haj’s scholarship focuses on Zionism, Israel, and Palestine. She is

a U.S. citizen and a member of MESA and the AAUP.

       29.     The ideological-deportation policy has harmed Abu El-Haj’s ability to hear from

and associate with her noncitizen colleagues and students. One of her noncitizen students, who

previously contributed to many events on campus and posted useful updates from Arabic language




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news reports on social media, has now ceased participating in events and deleted their social media

accounts for fear of losing their student visa. Another noncitizen student, who was once a leading

pro-Palestinian voice on campus, has stopped speaking publicly and has gone into hiding since

Khalil’s arrest, out of fear that ICE might arrest or detain them. In response to her noncitizen

students’ and colleagues’ concerns about ICE raids at campus events, Abu El-Haj cancelled a CPS

event that was scheduled to take place in February. She has since felt compelled to cancel two

more upcoming CPS events in April for the same reason. The policy has thus impaired Abu El-

Haj’s ability to learn from and meet with these students and to host CPS events.

       30.     Noura Erakat. Noura Erakat is a professor of Africana studies and Criminal Justice

at Rutgers University. Her research and teaching focus on international law, including human

rights law. She is a U.S. citizen and a member of MESA.

       31.     The ideological-deportation policy has harmed Erakat’s ability to hear from her

noncitizen colleagues and students. Noncitizen colleagues with whom Erakat collaborates closely

have paused work on ongoing projects related to Palestine out of concern that they will be targeted

for ideological deportation. One colleague, for example, paused their contributions to a legal

research project that they are drafting in collaboration with Erakat after learning of Khalil’s arrest.

Erakat has also observed that noncitizens students are less willing to speak in class and in public

about Palestine or related issues, even if those issues relate to their personal experiences. Because

her scholarship relies on narratives from conflict zones, her work suffers when noncitizens are

chilled from sharing their experiences.

       32.     Zachary Lockman. Zachary Lockman is a professor of Middle Eastern and Islamic

Studies and of History at NYU. His research and teaching focus on the modern history of the

Middle East. He is a U.S. citizen and a member of the AAUP, NYU-AAUP, and MESA. He chairs




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the subcommittee of MESA’s Committee on Academic Freedom that seeks to address threats to

academic freedom in the United States and Canada.

       33.     The ideological-deportation policy has harmed Lockman’s ability to hear from and

engage with his noncitizen colleagues and students. Lockman relies on the perspectives of

noncitizen colleagues and students to enrich his work in Middle East studies. Some of his

noncitizen colleagues in MESA have recently declined invitations to speak at academic events,

however, due to concern that increased visibility could lead to their deportation. Others have

censored their syllabi for the same reason. Lockman has also observed that noncitizen students are

less willing to speak in class and in public about Palestine or related issues, even if those issues

relate to their countries of origin. And he is aware of noncitizen graduate students who have altered

their research plans to avoid international travel because they fear having their visas or green cards

revoked based on their pro-Palestinian expression or association. As a result, Lockman and his

colleagues are deprived of the results of this research.

       34.     In addition to these four MESA members, I have heard from many more U.S.

citizen members of MESA who have lost the benefit of hearing from and engaging with their

noncitizen colleagues and students due to the ideological-deportation policy. Some members have

reported that they are now required to take on more public-facing work in their departments or

other groups due to their noncitizen colleagues’ decisions to step back from this work out of fear

that they may be targeted under the policy. Some have expressed increasing concern about

approaching noncitizen colleagues to collaborate on or co-author any kind of public writing.

Others have described canceling or altering planned events out of fear that they might place

noncitizen colleagues or students at risk. The result of the ideological-deportation policy has been




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to significantly limit the ability of citizen members of MESA to work with and learn from their

noncitizen colleagues and students.

                  The Effect of the Ideological-Deportation Policy on MESA

       35.     The Trump administration’s ideological-deportation policy has also seriously

harmed MESA itself.

       36.     In line with the experiences described above, many noncitizen members of MESA

have scaled back their participation in MESA’s events and projects due to their fears of being

targeted for arrest, detention, or deportation based on their political and scholarly engagement

related to Israel and Palestine.

       37.     Noncitizen members play an especially critical role in the academic community

MESA seeks to foster. They often possess unique insights, personal connections, and skills—

including heritage language skills—that allow them to become among the most effective

ethnographers and researchers working in the discipline. This also gives many noncitizen members

special insight into how an academic and advocacy organization like MESA can best serve its

community of scholars. Noncitizen members of MESA make invaluable contributions to the

organization. That the ideological-deportation policy has compelled many noncitizen members of

MESA to step back their engagement with MESA undermines MESA’s goal of facilitating the

exchange of pedagogical insights, academic expertise, and novel research among its members.

       38.     The policy has also had a significant negative impact on participation in MESA’s

annual meeting. As part of its mission to grow and support the academic community that studies

the Middle East, MESA hosts an annual meeting, which is the premier academic conference for

those who study the Middle East. The meeting consists of four days of academic programming,

professional development, networking, and special events. Participants in the annual meeting




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attend research workshops, participate in joint projects that help advance the study of the Middle

East, form research collaborations, and discuss the issues most pertinent to their work. The meeting

is a critical forum for scholarship, intellectual exchange, and pedagogical innovation, and for many

MESA members, the annual meeting is the highlight event of the year.

       39.     Unfortunately, there will be a decline in participation this year as a result of the

policy. I have heard from noncitizen members of MESA who are concerned about attending

MESA’s annual meeting, which is scheduled to take place in November 2025 in Washington, DC.

Members have told me that they fear that their attendance at the conference could put them at risk

for arrest, detention, deportation, or other immigration consequences. Each year, in preparation for

the annual meeting, MESA solicits paper proposals for the conference in mid-February. After the

administration’s adoption of the ideological-deportation policy, I have noticed a meaningful

decline in submissions. This year, the initial deadline for submitting paper proposals was on

February 13, 2025. However, a number of scholars who ordinarily submit paper proposals

informed me that they were unable to meet the deadline for submissions. Some expressed concerns

about attending the meeting, due to its location. In particular, members outside of the U.S.

expressed fears that they would be denied entry or harassed because of the administration’s

ideological-deportation policy. Noncitizen members also reported feeling overwhelmed and

unable to focus on making plans for the annual meeting because of their fear that scholarship and

speech about the Middle East, the entire focus of their academic careers, might become the basis

for being targeted by the government.

       40.     Submissions at the initial deadline this year were almost 40 percent below where

they should have been, based on my estimates from past MESA annual meetings in Washington,

DC. Given that sharp decline in submissions by that deadline, MESA’s leadership decided to grant




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an across-the-board extension to February 20, 2025, something that the organization has rarely

done in its history. After we extended the deadline for submissions, there was still a marked

decrease in the total number of submissions compared to prior years. Based on the number of

submissions, participation in the 2025 annual meeting is projected to fall 10 percent below the

level we expected.

       41.     Due to our members’ fears of ideological deportation, MESA’s annual meeting will

have lower attendance, garner fewer contributions to the scholarly field, and provide a less

effective opportunity for intellectual exchange. Additionally, noncitizen members’ reports of self-

censorship in their research, scholarship, and advocacy based on their fear of being targeted by the

government is expected to reduce overall engagement in the annual meeting and reduce

submissions to MESA’s scholarly publications, particularly on issues concerning Israel and

Palestine.

       42.     The absence of these noncitizen members’ voices will have a substantial impact on

the annual meeting, depriving MESA and its other members of the important insights, information,

and views these scholars would have contributed. Academic conferences, especially ones like

MESA’s annual meeting, are most effective when a wide-range of backgrounds and viewpoints

are represented. Reduced attendance or engagement at the annual meeting will limit the

information and ideas shared at the meeting and the opportunities for networking and intellectual

exchange that would otherwise be available in the absence of the policy. It will take away from

the vibrancy of the conversation and community MESA seeks to foster at its annual meeting, and

it will greatly impair MESA’s ability to pursue its mission of fostering the study and public

understanding of the Middle East.




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       43.     Reduced attendance at the annual meeting will also impose serious financial

burdens on MESA. A significant portion of MESA’s budget is funded through the registration fees

connected to attendance at the annual meeting. Based on the sizable reduction in the number of

academic papers submitted for the meeting, which has previously been a reliable predictor of

attendance, I anticipate that registrations for the next annual meeting will be seriously reduced,

meaning MESA will collect substantially fewer registration fees. Additionally, because the annual

meeting is the premier event of the year for MESA members, I anticipate that some individuals

who cannot or will not attend the meeting due to concerns relating to the ideological-deportation

policy will allow their memberships to lapse, and others who might have joined MESA to attend

the annual meeting will not do so due to fears of the potential immigration consequences stemming

from the ideological-deportation policy. This would impose an even greater financial cost on

MESA given its reliance on dues-paying members for its annual operation budget.

       44.     The ideological-deportation policy has also required MESA to divert resources to

managing and addressing the consequences of the policy for its members, that it would otherwise

devote to its core mission. I and other members of MESA’s leadership, staff, and volunteer faculty

are now required to spend substantial time and attention responding to crises stemming from the

ideological-deportation policy, which takes away from MESA’s ability to develop and foster

scholarship.

       45.     For instance, MESA’s Committee on Academic Freedom and MESA’s Task Force

on Civil and Human Rights have recently been inundated with requests for assistance from

noncitizen MESA members who fear arrest, detention, and deportation under the policy. Before

the policy, these advocacy committees addressed each member’s request for assistance

individually. Now, they spend time developing triage criteria for prioritizing certain requests. The




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committees have also needed to shift their focus from addressing threats to MESA’s members from

foreign governments to addressing threats stemming from the U.S. government’s ideological-

deportation policy. For example, in past years, a significant portion of the Committee on Academic

Freedom’s work involved advocacy outside the United States. Now, the committee is forced to

devote most of its attention to addressing the concerns of noncitizen MESA members who fear

potential immigration consequences stemming from the ideological-deportation policy. Between

November 2018 and November 2024, the committee produced 211 letters, of which 85 (or 40

percent) concerned North America. In the first few months of 2025, 80 percent of the letters

produced by the committee have concerned North America.

       46.     MESA leadership has also been required to develop new and different

programming aimed at addressing members’ concerns related to the ideological-deportation

policy. For example, MESA developed and held a know your rights workshop on March 27, which

addressed details about the legal options available to noncitizen students and colleagues should

they be affected by the ideological-deportation policy, as well as best practices to address risks to

our members during travel. MESA has another similar workshop planned for April 1. These are

events that MESA leadership believed were necessary to help protect its members from the

ideological-deportation policy. MESA leadership is also facilitating meetings between its

members and legal services groups on April 9 to respond to member concerns relating to travel

and digital security. This is programming that MESA would not typically arrange for its members,

and is not the kind of service that a scholarly association regularly provides for its members.

       47.     Additionally, because so many MESA members are fearful of the immigration

consequences stemming from the ideological-deportation policy, MESA has begun to distribute a

new monthly message to members to provide them with resources and information about MESA’s




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response to the ideological-deportation policy. For instance, on February 10 and March 21,

MESA’s leadership sent members information about threats to academic freedom and MESA’s

mission arising from the ideological-deportation policy. As a result of this significant shift in focus

and attention, MESA has had fewer resources to dedicate to its regular academic programming.

This includes supporting the program committee’s work in selecting proposals to include in our

annual meeting in November 2025, with our usual timeline having had to be pushed back to

accommodate new demands on our resources. In addition, more staff time is now dedicated to

messaging and communications around the threats to academic freedom and freedom of

association in the U.S. due to the ideological-deportation policy.

       48.      I declare under penalty of perjury that the forgoing is true and correct.



                                                    Respectfully submitted,




                                                    Aslı Ü Bâli
April 1, 2025




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